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AO 199A Order Setting Conditions of Release (Rev. 09105)                                                          Page           of    3

                                                                                                           AUG 13 2008
                                         United States District Co""··'!t ~:r""
                                                Western District of New York
                                                                                                   CLERK, US DISTRICT COURT! WDNY
                 United States of America
                                                                                    ORDER SETTING CONDITIONS
                                v.                                                         OF RELEASE
                    t&IIIR RLOHRI\;
                                                                           Case Number:     08- c« ",oa'7                 CJS


IT IS ORDERED that the release of the defendant is subject to the following conditions:

         (1) The defendant shall not commit any offense in violation offederal, state or local law while on release in this case.

         (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
             address and telephone number.

         (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
             The defendant shall appear at (if blank, to be notified)

              United State District Court. Rochester. NY     on
                           place
                                                                  - - - -date
                                                                          --    ---------
                                                                              and time


                                        Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:

(v)      (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.

()       (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
             _ _ _ _--,-             ----,            dollars ($                    ) in the event of a failure to appear as required
             or to surrender as directed for service of any sentence imposed.


                                                    Additional Conditions of Release

         Upon finding that release by one of the above methods will not by itself reasonably assure the appearance ofthe defendant and
         the safety of other persons and the community.

IT IS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

()       (6) The defendant is placed in the custody of:
                (Name of person or organization):                                                                                _


                   (City and state):                                                (Tel. No.)                -,-,--               _
who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the appearance
of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any
conditions of release or disappears.

                                               Signed:                                             _
                                                                  Custodian or Proxy                            Date



         DISTRIBUTION      COURT        DEFENDANT          PRETRIAL SERVICES           U.S AITORNEY         u. S. MARSHAL
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  AO 199B(l) Additional Conditions of Release (Rev. 09106)                                                                                Page 2            of    3

                                               Additional Conditions of Release (contin ued)
(7) The defendant shall:
   (~(a) Report to the Pretrial Services within 24 hours of release, telephone number (585 )263-6810, and as directed thereafter.
   ( ) (b)   Execute a bond or an agreeme             to forfeit upon failing to aRpear as required lhe following            SoWoiM Ilf mllne)   Ir designated property:
                " He               KI      \ST.            £1       I. Nt            II     w             (.J~ ()()o
   ( ) (c)   Post with the court the following indicia of ownership of the above-described property, or the following amount or percentage ofthe above­
             described ::---:::-:-_-:---:-:-_-:--       -:-:------,-----,-----,        -::-:--                       _
   ( ) (d) Execute a bail bond with solvent securities in the amount of $                                                      _
   (JJ   (e) Maintain or actively seek employment.
   ( ) (f) Maintain or commence an educational program.
   ( -ng) Surrender any passport to: The U.S. Probation and Pretrial Services Office l .
   ( .f(h) Obtain no passport.
    (~(i) Restrict travel to: 1;J~l5r~N £)LS"~lGr 0'                        N'"                                            0.         C't ",r I'ICZI
   (V) CD Remain at a verifi able address as approved by Pretrial Services. M                W,            .IN...
                                                                                                          Lt. IT"         flOC HtCST :.,)
   ( ) (k) Avoid all contact with codefendants and defendants in related cases unless approved by Pretrial Services.
   ( ) (I)   Avoid all contact, directly or indirectly. with any persons who are or who may become a victim or potential witness in the subject investigation
             or prosecution, including but not limited to : - - - - - - - - - - - - - - - - = c ­
   ( ) (m) Submit to a mental health evaluation andlor treatment as approved by Pretrial Services. The defendant shall contribute to the cost of services
             rendered in an amount to be determined by the probation officer based on ability to payor availability of third party payments,
   ( ) (n) Return to custody each (week)day as of                                  after being released each (week)day as of                for employment, schooling, or
             the following limited purpose(s):                                  .,-_ _----,-                      -::--:-_-:-:-:-_
   (.yo) Maintain residence at a halfway house or community corrections center, as approved by Pretrial Services.
   (") (p) Refrain from possessing a firearm, destructive device, or other dangerous weapon.
   (~(q) Refrain from ( ) any             (V5 excessive use of alcohol.
   (~(r) Refrain from any use or unlawful possession of a narcotic drug and other controlled substances defined in 21 U.S.c. § 802, unless prescribed
             by a licensed medical practitioner.
   (~(s) Submit to any method oftesting required by the pretrial services office or the supervising officer for determining whether the defendant is using
             a prohibited substance. Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote
             alcohol testing system, and/or any form of prohibited substance screening or testing, including co-payment.
   (~(t) Participate in a program of inpatient or outpatient substance abuse therapy and counseling approved by Pretrial Services. The defendant shall
             contribute to the cost of services rendered in an amount to be determined by the probation officer based on ability to payor availability ofthird
             party payments.
   (../f,u)  Refrain from obstructing or attempting to obstruct ortamper, in any fashion, with the efficiency and accuracy ofany prohibited substance testing
             or electronic monitoring which is (are) required as a condition(s) of release.
   ( ) (v)(l)     Abide by all the requirements of the program which ( ) will or () will not include electronic monitoring or other location verification
                  system. You shall pay all or part of the costs of the program based upon your ability to pay as determined by the officer.
                  ( ) (i)   Curlew. You are restricted to your residence every day ( ) from                            to          or as directed by the officer.
                  ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical;
                            substance abuse, or mental health treatment attorney visits; court appearances; court-ordered obligations; or other activities as
                            pre-approved by the officer.
                  ( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious services,
                            and court appearances pre-approved by the officer.
   ( ) (v)(2)     Abide by all the requirements of the program which will be monitored by a Global Positioning Satellite system (G.P.S.). You shall pay
                  all or part of the costs ofthe program based upon your ability to pay as determined by the officer.
                  ( ) (i)   Curfew. You are restricted to your residence every day () from                             to          or as directed by the officer.
                  ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                            substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as
                            pre-approved by the officer.
                  ( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious services,
                            and court appearances pre-approved by the officer.
   (X ) (w)       Report within 72 hours. to Pretrial Services any contact with any law enforcement personnel, including, but not limited to. any arrest,
                  questioning, or traffic stop.
   ( )

   ( )




                       l For U.S. Passports, the passport will be returned to the U.S. Office of Passport Policy and Planning upon conviction;
             For Foreign Passports, the passport will be forwarded to the Bureau ofImmigration and Customs Enforcement (ICE); The
             passport will only be returned to defendant if the case is dismissed.
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AO 199C Advice of Penalties and Sanctions (Rev. 09/05)                                                           Page     3      of         3

                                                   Advice of Penalties and Sanctions
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a tenn of imprisonment, a fine
or both.
         The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.
This sentence shall be in addition to any other sentence.
         Federal law makes it a crime punishable by up to 10 years of imprisonment and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fme or both to tamper with a witness, victim
or informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The penalties for
tampering, retaliating and intimidation are significantly more serious if they involve a killing or attempted killing.

       If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
                                                                         °
            not more than $250,000 or imprisoned for not more than I years, or both;
       (2) an offense punishable by imprisonment for a term offive years or more, but less than fifteen years, you shall be filled not more
            than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony, you shall be fmed not more than $250,000 or imprisoned for not more than two years, or both;
       (4) a misdemeanor, you shall be fmed not more than $100,000 or imprisoned for not more than one year, or both.

        A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgmen t of Defendant

        I acknowledge that I am the defendant in this case and that I am aware ofthe conditions ofrelease. I promise to obey all conditions
ofrelease, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth
above.
                                                                                                                                      ...



                                                                              City and State

                                                  Directions to United States Marshal

   ) The defendant is ORDERED released after processing.

( ) The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the appropriate
judicial officer at the time and place specified, if still in custody.


Date:   --.11WG, 1.$) 200&

                                                                              Charles J. Siragusa. United ates District Judge
                                                                                      Name and Title of Judicial Officer
